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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION

RUSSELL GEISSLER, BERNARD                         )
BAGLEY, AND WILLIE JAMES                          )               Case No.: 4:17-cv-01746-MBS
JACKSON, individually and on behalf of            )
others similarly situated,                        )
                                                  )              STIPULATION AND ORDER
         Plaintiff,                               )             FOR CLASS CERTIFICATION
                                                  )
         v.                                       )
                                                  )
BRYAN P. STIRLING, Director of the South )
Carolina Department of Corrections (SCDC), in )
his official capacity; and JOHN B. MCREE,         )
M.D., Division Director of Health and             )
Professional Services for SCDC, in his individual )
capacity,                                         )
                                                  )
         Defendants.                              )
                                                  )

        WHEREAS, Plaintiffs filed the Third Amended Complaint in this action on August 21, 2018,

alleging, in part, that Defendant Stirling violated the United States Constitution by failing to properly

test SCDC inmates for chronic Hepatitis C (HCV) and a proposed class of plaintiff SCDC inmates;

and

        WHEREAS, no admission or finding of liability has been made; and

        WHEREAS, the parties have agreed to the following terms to certify a plaintiff class for

settlement of the HCV testing claim;

        IT IS HEREBY STIPULATED, by and between the undersigned, as follows:

        1.      The Court, upon stipulation by the parties hereto, may order the certification, pursuant

to Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, the following plaintiff class:

        “All current and future inmates in SCDC custody, with the exception of inmates who
        have already been diagnosed with chronic HCV.”

        2.      The plaintiff class is so numerous that joinder of all members in impracticable.
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          3.    There are questions of law or fact common to the class.

          4.    The claims or defenses of Plaintiffs Geissler and Bagley, as representative plaintiffs,

are typical of the claims or defenses of the class.

          5.    Plaintiffs Geissler and Bagley will fairly and adequately protect the interest of the

class.

          6.    Plaintiffs allege that Defendant Stirling has acted or refused to act on grounds that

apply generally to the class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.

          7.    This Stipulation and Order is solely for the purpose of resolving class certification as

to the testing issues raised in Plaintiffs’ Third Amended Complaint and is without prejudice to the

parties’ legal and equitable rights and defenses in this action or certification relating to the treatment

issues raised in Plaintiffs’ Third Amended Complaint.

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Dated: November 12, 2018
       Charleston, South Carolina

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                                               SALEEBY, P.A.
s/ Christopher J. Bryant
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ATTORNEYS FOR PLAINTIFFS

* admitted pro hac vice

SO ORDERED:



December 6, 2018                                         s/Margaret B. Seymour_________
Charleston, SC                                           Hon. Margaret B. Seymour
                                                         Senior United States District Judge




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